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                   IN THE UNITED STATES BANKRUPTCY COURT FOR
                       THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                                       CHAPTER 13 CASE NO.:

RICKEY L. TURNER                                                             20-10079-JDW

        TRUSTEE’S OBJECTION TO MOTION TO IMPOSE AUTOMATIC STAY

        COMES NOW the Chapter 13 Trustee, Locke D. Barkley (the “Trustee”), by and through

counsel, and files this Objection to the Motion to Impose Automatic Stay (Dkt. #8) (the “Motion”)

filed by the Debtor and in support thereof states as follows:

        1.       Since 2017, the Debtor has filed three (3) petitions for bankruptcy relief, with the

previous two (2) cases ending in dismissal for failure to make plan payments. 1 The previous case,

Case No. 19-11716-JDW was dismissed before the case was confirmed. This is the Debtor’s third

Chapter 13 filing in two (2) years. The repetitive filing of bankruptcies and the failure to remit

plan payments is an abuse of the bankruptcy system. The Trustee submits that the current Petition

has not been filed in good faith and, therefore, the automatic stay should not be imposed.

        2.       In the event the Court determines that the automatic stay should be imposed, the

Trustee respectfully requests that the Debtor be made subject to a sixty (60) day drop-dead

provision beginning in February 2020, and that, should this case be dismissed, the Debtor should

be barred from filing a Chapter 13 bankruptcy case in this district or any other district for a period

of no less than one-hundred and eighty (180) days.

        WHEREFORE, PREMISES CONSIDERED, the Trustee prays that this response be

received and filed and upon a hearing hereon, this Court will enter its order denying the Motion.

Alternatively, in the event the Court imposes the automatic stay, the Trustee respectfully requests




1
 In Re Ricky Turner, Case No. 17-12958-JDW (N.D. Miss.) filed on August 10, 2017, and dismissed on February
20, 2019, and In Re Ricky Turner, Case No. 19-11716-JDW (N.D. Miss.) filed on April 23, 2019, and dismissed on
September 13, 2019.
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that the Debtor be subject to the strict compliance provisions requested herein. The Trustee also

requests other such general and specific relief as to which the Trustee and this bankruptcy estate

may be entitled.

       Dated: January 14, 2020.

                                              Respectfully submitted,

                                              LOCKE D. BARKLEY
                                              CHAPTER 13 TRUSTEE

                                              /s/ Melanie T. Vardaman
                                              ATTORNEYS FOR TRUSTEE
                                              W. Jeffrey Collier (MSB 10645)
                                              Melanie T. Vardaman (MSB 100392)
                                              6360 I-55 North, Suite 140
                                              Jackson, Miss. 39296
                                              (601) 355-6661
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                                 CERTIFICATE OF SERVICE

       I, the undersigned attorney for the Trustee, do hereby certify that I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and I hereby certify that I either
mailed by United States Postal Service, first class, postage prepaid, or electronically notified
through the CM/ECF system, a copy of the above and foregoing to the Debtor, attorney for the
Debtor, the United States Trustee, and other parties in interest, if any, as identified below.

       Dated: January 14, 2020.

                                              /s/ Melanie T. Vardaman
                                              MELANIE T. VARDAMAN
